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flaws
IN THE WESTERN DISTRICT oF TENNESSEE
FoR THE WESTERN DlsTRlCT oF TENNESSEEQS ;i;~;¢: 355 :_i;':;- ';, .' a _

WESTERN DIVISION

.;. I\i(, ' ':3. l`"i .` (.»'.

UNITED STATES OF AMERICA, § W_D. mr “-N 41 MMV.:F,H£S
Plaintiff, )
)

v. ) Criminal No.: 04-2031] MI

)
VENCEL MARTIN, and )
BENTIA ROGERS, )
)
Defendants. )

 

ORDER TO DISMISS COUNT ONE OF THE INDICTMEN'I`
AS TO DEFENDANT VENCEL MARTIN AND BENITA ROGERS

 

Based upon the oral motion of the United States made on April 22, 2005', it is hereby
ORDERED that Count l of the lndictment as to Vencel Martin and Benita Rogers is hereby

dismissed

Emeredrhis a dayof @g¢*`¢i ,2005.

HO RABLE JON PH]PPS MCCALLA
ED STATES DISTRICT JUDGE

Approved:

TERRELL L. HARRIS
UNITED STATES ATTORNEY

By: 7/-‘4)1::/ /e¢ M§¢_"'
Vivian R. Donelson (#009951 Tennessee)
Assistant United States Attorney
167 North Main Street, Suite 800
Memphis, TN 38103

This doct ment entered on the docket sheet in compi':ance
With R.lFe 55 and/or 32!b) FF%Cr§j on "

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UNITED `sTEATs DISTRIC COURT - WESERNT D's'TRCT oFTENNESSEE

   

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Honorable .1 on McCalla
US DISTRICT COURT

